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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MICHELLE FREUDENBERG, as Administratrix of the
Estate of ERIC FREUDENBERG,

                           Plaintiff,

         -vs-

COUNTY OF ORANGE, H.I.G. CAPITAL, LLC,                             NOTICE OF MOTION
WELLPATH, LLC (formerly known as CORRECT CARE
SOLUTIONS MEDICAL SERVICES PC), WELLPATH                        Civil No.: 7:23-cv-00847-KMK
NY, LLC, ORANGE COUNTY SHERIFF CARL E.
DUBOIS in his official capacity, ORANGE COUNTY
DEPUTY JOHN DOE 1 in their official and individual
capacities, SALWA KHOURI, M.D. in her official and
individual capacities, MANDI ZACCAGNINO, N.P. in her
official and individual capacities, JOHN DOE 2-10, in their
official and individual capacities,

                           Defendants.


PLEASE TAKE NOTICE:

MOTION BY:                                       BARCLAY DAMON, LLP
                                                 Attorneys for Defendants
                                                 County of Orange, Wellpath, LLC (f//k/a
                                                 Correct Care Solutions Medical Services
                                                 PC), Wellpath NY, LLC, Orange County
                                                 Sheriff Carl E. Dubois, Salwa Khouri, M.D.
                                                 and Mandi Zaccagnino, N.P..
                                                 2000 Five Star Bank Plaza
                                                 100 Chestnut Street
                                                 Rochester, New York 14604
                                                 Telephone: (585) 295-4426
                                                 Email: psanders@barclaydamon.com

DATE, TIME AND PLACE OF HEARING:                 Hon. Kenneth M. Karas
                                                 United States District Judge
                                                                      , 2023 at ____ a.m./p.m.
                                                 The Hon. Charles L. Brieant Jr.
                                                 United States Courthouse
                                                 300 Quarropas St.
                                                 White Plains, NY 10601-4150


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SUPPORTING PAPERS:                          Attorney Declaration of Paul A. Sanders,
                                            Esq. dated December 4, 2023 and
                                            Defendants’ Memorandum of Law dated
                                            December 4, 2023.

RELIEF DEMANDED:                            An order, pursuant to Fed. R. Civ. P. Rule
                                            12(b)(6), dismissing Plaintiff’s Complaint, in
                                            its entirety with prejudice, and granting such
                                            other and further relief as the Court deems
                                            just and proper.

GROUNDS FOR RELIEF:                         Plaintiff’s Complaint fails to state a cause of
                                            action upon which relief can be granted,
                                            pursuant to Fed. R. Civ. P. Rule 12(b)(6), as
                                            against moving Defendants

DEMAND FOR ANSWERING PAPERS:                Absent Court order, the opposing party shall
                                            file and serve responding papers on or before
                                            January 3, 2024, and the moving party shall
                                            file and serve reply papers on or before
                                            January 18, 2024. See CM/ECF Doc. No. 58.

                                            Failure to respond to this motion may result
                                            in dismissal of the Complaint and termination
                                            of this action.

DATED:        December 4, 2023              BARCLAY DAMON LLP

                                            By:    /s/ Paul A. Sanders
                                                    Paul A. Sanders, Esq.

                                            Attorneys for Defendants
                                            Attorneys for County of Orange, Wellpath,
                                            LLC (f//k/a Correct Care Solutions Medical
                                            Services PC), Wellpath NY, LLC, Orange
                                            County Sheriff Carl E. Dubois, Salwa
                                            Khouri, M.D. and Mandi Zaccagnino, N.P.
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